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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :       Criminal Case No. 1:18-CR-457 (AJT)
                                             :
BIJAN RAFIEKIAN, et al.                      :


                                    NOTICE OF HEARING

       PLEASE TAKE NOTICE that on December 15, 2021 at 9:00 a.m., or as soon thereafter as

counsel may be heard, Defendant Rafiekian, and his counsel, will seek to appear before the Court

for a hearing on his Renewed Motion for a New Trial Pursuant to Federal Rule of Criminal

Procedure 33. The government’s position is that no hearing is necessary “given the extensive

briefing and argument on these issues,” but that the government will be available on December 15,

2021 at 9:00 a.m. if the Court is inclined to hear argument on this motion.



Dated: November 30, 2021                             Respectfully submitted,

                                                     /s/
                                                     Mark J. MacDougall (Pro Hac Vice)
                                                     Stacey H. Mitchell (Pro Hac Vice)
                                                     James E. Tysse (VA Bar #73490)
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                                         /s/
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on this 30th day of November 2021, true and genuine copies of

Defendant Bijan Rafiekian’s Notice of Hearing was sent via electronic mail by the Court’s

CM/ECF system to the following:

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       John T. Gibbs
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                                                           /s/
                                                           James E. Tysse (VA Bar #73490)




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